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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division



  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, JOHN DOE, and THOMAS
  BAKER,

                                 Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

   v.

   JASON KESSLER, et al.,

                                 Defendants.



     PLAINTIFFS’ OPPOSITION TO DEFENDANTS KESSLER’S, DAMIGO’S, AND
                  IDENTITY EVROPA’S MOTIONS IN LIMINE
                    AND REQUEST FOR JUDICIAL NOTICE

                                        INTRODUCTION

        Plaintiffs respectfully submit this Opposition to Defendants Jason Kessler, Nathan

 Damigo, and Identity Evropa’s Motion in Limine and Request for Judicial Notice. See ECF No.

 1148 (“Mot.”). In their Motion, Defendants ask the Court to: (I) take judicial notice of search

 warrants and their supporting affidavits; and (II) prohibit Plaintiffs, their attorneys, and their

 witnesses from directly or indirectly mentioning, referring to, questioning concerning, or

 attempting to convey to the jury in any manner, the following facts: (A) evidence linking

 defendants Kessler, Damigo, and Identity Evropa to the misconduct that led to adverse inferences

 being granted against other defendants in this case; (B) evidence regarding the emotional distress

 of non-plaintiffs; (C) evidence regarding legal conclusions and definitions; and (D) testimony by
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 Plaintiffs’ experts Kathleen Blee and Peter Simi that there was a conspiracy or any other opinion

 that could constitute legal conclusions. Plaintiffs address each of these requests in turn. As

 explained fully below, Defendants’ motion should be denied.

                                            ARGUMENT

 I.     THE COURT SHOULD DENY THE REQUEST FOR JUDICIAL NOTICE OF
        SEARCH WARRANT AFFIDAVITS AND SEARCH WARRANTS

        Defendants Kessler, Damigo, and IE request that the Court take judicial notice of three

 search warrants and three search warrant affidavits that were issued in 2019 to individuals who are

 not parties in this case and who do not appear on any party’s witness list. This request should be

 denied for at least two reasons. First, insofar as Defendants request that the Court take judicial

 notice of the facts underlying the affidavits, that request must be denied because the underlying

 facts are a) not admissible at trial and b) not indisputable. Indeed, it would raise serious

 constitutional issues for the Court to take judicial notice of the underlying facts in the affidavits.

 Second, to the extent that Defendants’ motion seeks to have the Court take judicial notice of the

 fact that, in 2019, three search warrant affidavits were sworn by an affiant and three search

 warrants were issued by a magistrate judge in the Western District of Virginia, that request should

 be denied as well because Defendants have not established the relevance of those facts. At bottom,

 Defendants should not be permitted to introduce through judicial notice inadmissible, unreliable,

 and irrelevant facts and upend the bedrock, threshold requirements for admitting courtroom

 evidence.

        A.      Legal Standard

        Federal Rule of Evidence 201 permits judicial notice of adjudicative facts that are “not

 subject to reasonable dispute” so long as they either are “generally known within the trial court’s

 territorial jurisdiction” or “can be accurately and readily determined from sources whose accuracy



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 cannot reasonably be questioned.” Fed. R. Evid. 201(b). The party requesting judicial notice bears

 the burden of proving that Rule 201(b)’s standard is satisfied. Farmer v. United States, No. 5:10-

 cr-271, 2015 WL 12911626, at *2 (E.D.N.C. Aug. 31, 2015), aff’d, 633 F. App’x 182 (4th Cir.

 2016).

          Taking judicial notice of facts has serious consequences because under Federal Rule of

 Evidence 201(f), “[w]here the trial court has taken judicial notice of a fact in a civil matter, the

 judge must instruct the jury to accept the fact as conclusive.” Loftus v. F.D.I.C., 989 F. Supp. 2d

 483, 490 (D.S.C. 2013) (citing the predecessor to Fed. R. Evid. 201(f) (emphasis added)). Further,

 a “court taking judicial notice may also preclude the introduction of evidence to disprove the

 noticed fact.” Id. Given these high stakes, courts must exercise caution before taking judicial

 notice. As the advisory committee notes to Rule 201(b) state, “[a] high degree of indisputability

 is the essential prerequisite” for judicial notice, and “[t]his tradition of circumspection appears to

 be soundly based” because the “key to a fair trial is opportunity to use the appropriate weapons

 (rebuttal, evidence, cross-examination, and argument) to meet adverse materials that come to the

 tribunal’s attention.” Fed. R. Evid. 201(b) advisory committee notes.

          B.     The Court May Not Take Judicial Notice of the Facts Underlying the
                 Affidavits

          To the extent that Defendants request that the Court take judicial notice of the facts

 underlying the search warrant affidavits, the Court must deny that request for at least two reasons.

          First, it is black-letter law that courts may not take judicial notice of documents for use by

 a party for the truth of their contents when they do not otherwise satisfy the admissibility rules of

 evidence. See; McLean v. Leonard, 2016 WL 3448574, at *3 (E.D.N.C. June 17, 2016); United

 States v. Schley-Cole, 2013 WL 6073550, at *2 (N.D. W.Va. Nov. 18, 2013); Sher v. Luxury

 Mortg. Corp., 2012 WL 5869303, at *7 (D.Md. Nov. 19, 2012); Marsh v. San Diego Cnty., 432



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 F.Supp.2d 1035, 1043 (S.D. Cal. 2006); see also 21B Wright & Miller, Federal Practice &

 Procedure § 5106.4 (2d ed. 2017) (“[A] court cannot take judicial notice of a fact that would not

 be admissible if it were offered as evidence.”).

        Here, Defendants have made no attempt to demonstrate that the “facts” underlying the

 affidavits are otherwise admissible at trial. Nor could they. The affidavits are replete with

 admissibility issues. First, not only is each affidavit itself an out-of-court statement that the

 defendants are improperly attempting to offer for the truth of the “facts” included in it, but the

 numerous additional out-of-court statements within each affidavit constitute hearsay within

 hearsay. See McLean, 2016 WL 3448574, at *3 (denying motion for judicial notice of exhibits

 that contained hearsay within hearsay); Elliott v. Mortg. Elec. Registration Sys., Inc., 2012 WL

 12965955, at *2 (N.D. Cal. Dec. 7, 2012) (“[A] court . . . cannot take judicial notice of

 inadmissible hearsay, i.e. the factual matters stated [in a certain document].”). Second, the single

 affiant who authored all three of the affidavits has not established personal knowledge of the

 “facts,” which are ardently contested in this case. The affiant purports to characterize these “facts”

 as accurate, including in one affidavit a background section on Unite the Right that does not

 contain a single citation for any of the alleged “facts.” Third, each affidavit relies on sources—

 including photographs, videos, social media posts, websites, and email communications—that are

 entirely unauthenticated.

        In short, the affidavits are a conglomeration of numerous alleged “facts” that not only

 include multiple layers of hearsay, but also rely on many different kinds of unauthenticated

 sources—all of which are improperly characterized by a single individual with no established

 personal knowledge. Defendants’ attempt to end-run the Federal Rules of Evidence is outrageous,

 and their motion should be denied for this reason alone.




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        Second, the Federal Rules of Evidence authorize courts to take judicial notice only of facts

 the accuracy of which “is not subject to reasonable dispute.” Fed. R. Evid. 201(b). Indeed, in

 order for a fact to be judicially noticed under Rule 201(b), a high degree of indisputability is a

 fundamental prerequisite. See 21 C. Wright & K. Graham, Federal Practice and Procedure:

 Evidence § 5104 at 485 (1977 & Supp. 1994). Since the effect of taking judicial notice would be

 to preclude Plaintiffs from introducing contrary evidence as to the fact noticed, “the fact must be

 one that only an unreasonable person would insist on disputing.” United States v. Jones, 29 F.3d

 1549, 1553 (11th Cir. 1994). Here, Plaintiffs vigorously dispute the “facts” in the affidavits, which

 have not been subject to cross-examination, rebuttal, or argument.           For this reason, too,

 Defendants’ motion should be denied. See Scotty’s Contracting & Stone, Inc. v. United States,

 326 F.3d 785, 790 n.1 (6th Cir. 2003) (“[J]udicial notice of a fact is generally only appropriate

 when there is no dispute regarding the fact.”).

        Defendants appear to rely on an implicit argument that facts within a search warrant must

 be accurate. See Mot. at 2-3. But courts regularly recognize that the “accuracy” of search warrants

 can “reasonably be questioned.” Fed. R. Evid. 201(b)(2). Indeed, “despite best efforts, inaccurate

 information . . . may get into the affidavits for search warrants and into the warrants

 themselves.” United States v. Johnson, 558 F. Supp. 2d 807, 812 (E.D. Tenn. 2008). That is

 because “search warrant affidavits are prepared in the heat of an investigation and are not required

 to be 100% accurate in all respects.” United States v. Jabero, 368 F. Supp. 2d 702, 717 (E.D.

 Mich. 2005). Accordingly, it is not unusual for courts to determine “that [a] search warrant

 affidavit was false and inaccurate in [multiple] respects.” United States v. Ross, 400 F. App’x 730,

 736 (4th Cir. 2010); see United States v. Hammond, 351 F.3d 765, 771 (6th Cir. 2003) (noting how

 a search warrant affidavit “contained information that is either inaccurate or illegally obtained”).




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 Taking judicial notice of “facts” that may well be inaccurate (if not outright false) is plainly not

 permissible under the Federal Rules of Evidence.

        The reason why nothing short of “[a] high degree of indisputability” is required is simple:

 the key to a fair trial is the opportunity to use the appropriate weapons (rebuttal, evidence cross-

 examination, and argument) to meet adverse materials that come to the tribunal’s attention. Where

 the facts in the affidavits are not indisputable, instructing the jury to accept those facts would

 deprive Plaintiffs of the right to go to the jury with evidence to disprove those facts, see Loftus,

 989 F. Supp. 2d at 490, thereby raising serious constitutional concerns, see 21 C. Wright & K.

 Graham, Federal Practice and Procedure: Evidence § 5104 at 485 (1977 & Supp. 1994); accord

 Jones, 29 F. 3d at 1553; United States v. Aluminum Co. of America, 148 F.2d 416, 446 (2d Cir.

 1945) (L. Hand, J.).

        C.      The Existence of the Search Warrants and Affidavits is Not Relevant.

        Insofar as Defendants’ motion seeks only to have the Court take judicial notice of the fact

 that, in 2019, three search warrant affidavits were sworn by an affiant and three search warrants

 were issued by a magistrate judge in the Western District of Virginia, that request should be denied

 as well. For a court to take judicial notice of a matter, “that matter must be relevant.” Ebersole v.

 Kline-Perry, 2021 WL 2673150, at *6 (E.D. Va. July 5, 2012); see also Deakle v. Westbank

 Fishing, LLC, 2021 WL 4133512, at *2 (E.D. La. Sept. 10, 2021) (“Courts should not take judicial

 notice of irrelevant facts.”); United States v. Lumiguid, 499 F. App’x 689, 691 (9th Cir. 2012)

 (refusing to take judicial notice of irrelevant evidence). In other words, facts whose “relevance

 has not been established” are “not appropriate for judicial notice.” United States v. LaRouche, 4

 F. 3d 987 (4th Cir. 1993). Consistent with the Federal Rules of Evidence, to be relevant, evidence

 must have the “tendency to make the existence of a[] fact that is of consequence to the

 determination of the action more probable or less probable than it would be without the evidence.”


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 Chalifa v. Mayor and City Council of Baltimore, 986 F.2d 1412 (4th Cir. 1993) (emphasis added).

 The proponent of evidence bears the burden of establishing its relevance. See United States v.

 Shah, 125 F. Supp. 3d 570, 574 (E.D.N.C. 2015).

         Here, the fact that these search warrants were issued and that the search warrant affidavits

 were filed is not relevant to the question of whether the Defendants conspired to commit racially-

 motivated violence in Charlottesville, Virginia on August 11 and 12, 2017. And Defendants’

 conclusory, one-sentence suggestion that the search warrants and affidavits are relevant to what

 “the defendants did and with what motive or intent,” Mot. at 3, falls woefully short of meeting

 their burden to establish that judicial notice is appropriate. Indeed, it has hard to divine how the

 existence of a search warrant could say anything about Defendants’ intent or motive. In sum,

 Defendants’ request for judicial notice should be denied.

 II.     THE COURT SHOULD DENY DEFENDANTS’ REQUEST TO PROHIBIT
         PLAINTIFFS FROM REFERRING TO CERTAIN EVIDENCE

         A.      Plaintiffs’ Response to Defendants’ Request to Exclude Evidence Linking
                 Defendants to Misconduct That Led to Adverse Inferences

         During the course of this litigation, Plaintiffs have successfully sought evidentiary

 sanctions against four Defendants for their various discovery misconduct. See Sines v. Kessler,

 2020 WL 702871 0 (W.D. Va. Nov. 30, 2020) (as to Defendant Kline); Sines v. Kessler, Civ.

 Action No. 3:17-00072, 2021 WL 1143291 (W.D. Va. Mar. 24, 2021) (as to Defendant Ray); Sines

 v. Kessler, Civ. Action No. 3:17-00072, 2021 WL 1208924 (W.D. Va. Mar. 30, 2021) (as to

 Defendant Vanguard America); Sines v. Kessler, Civ. Action No. 3:17-00072, 2021 WL 2584807

 (W.D. Va. June 23, 2021) (as to Defendant National Socialist Movement). Defendants Kessler,

 Damigo, and IE seek to exclude “evidence and argument that states, implies, or attempts in any

 way to link defendants to the misconduct that led to adverse inferences being granted against other

 parties to this litigation.” Mot. at 1.


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           To the extent Defendants Kessler, Damigo, and IE seek to exclude “evidence and argument

 that states, implies, or attempts in any way to link defendants to the misconduct that led to adverse

 inferences being granted against other parties to this litigation,” Mot. at 1, Plaintiffs do not intend

 to argue or present evidence to link Defendants Kessler, Damigo, or IE to the discovery misconduct

 committed by other defendants in this litigation. Plaintiffs reserve the right, however, to present

 evidence and argument about any and all misconduct engaged in by Defendants Kessler, Damigo,

 and IE.

           If, by contrast, Kessler, Damigo, and IE are seeking an order precluding Plaintiffs from

 offering arguments or evidence related to the inferences and facts granted that might inferentially

 have some spillover effect, that relief must be denied. Cf. Mot. 4 (requesting an order “prohibiting

 the plaintiffs from using any evidence or argument that states, implies, or in any other way attempts

 to link the defendants to sanctions imposed on other parties.”). That sweeping request, which

 Defendants have not mustered a single citation to support, goes far beyond the modest mechanism

 this Court has already recognized as the appropriate cure for any potential spillover effects: A

 limiting jury instruction. See, e.g., ECF No. 910 at 28 (“Defendants’ concerns about the ‘spillover

 effect of evidentiary rulings’ against Kline . . . can be addressed with an appropriate limiting

 instruction.”).

           Following the Court’s guidance on that point, Plaintiffs’ proposed jury instructions include

 a limiting instruction which makes clear that the sanctions granted against co-Defendants does

 “not relieve Plaintiffs of their burden to prove by a preponderance of the evidence the conduct

 committed by” other Defendants. Pls.’ Proposed Jury Instructions, at 23. No more is required.

 See Pls. Reply to Def. Spencer’s Opposition to Motion For Sanctions Against Defs. Kline and

 Heimbach, ECF No. 475 at 3-6 (collecting cases). As Plaintiffs have previously explained,




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 evidence about the relevant conduct of their co-Defendants, such as the fact that Defendants Kline

 and Ray entered into an agreement with one or more coconspirators to engage in racially motivated

 violence, is not something Defendants Kessler, Damigo, or IE may keep from the jury simply on

 the grounds that they believe such facts would be damaging to their defense. See id. at 3.

        B.      The Court Should Not Prohibit Non-Party Witness Testimony About Their
                Emotions or Reactions

        Defendants argue the Court “should exclude evidence regarding the emotional distress of

 . . . non-parties” because (a) the “emotional distress of nonplaintiffs is not recoverable” and thus

 irrelevant under Rule 402, and (b) any emotional distress suffered by non-parties “due to

 witnessing or being aware of plaintiffs’ injuries is prejudicial” under Rule 403. (Mot. at 4.)

        Plaintiffs do not seek recovery for the emotional distress of non-parties and do not intend

 to argue or present evidence on that non-issue. Non-party testimony is admissible as to the

 Plaintiffs’ emotional distress, however, and a third party may testify about the emotional distress

 they witnessed in a Plaintiff as a result of Defendants’ conduct. See Clehm v. BAE Sys. Ordnance

 Sys., Inc., 2018 WL 6594612, at *7-*8 (W.D. Va. Dec. 14, 2018) (trial including “detailed

 testimony from [plaintiff’s] family, friends, and former coworkers regarding her emotional

 injuries, protracted anxiety, and the deterioration of her physical and mental health” was “fully

 and fairly tried.”); see also M.B.A.F.B. Federal Credit Union v. Cumis Ins. Soc., Inc., 681 F.2d

 930, 932 (4th Cir. 1982) (testimony is admissible under Fed. R. Evid. 602 where the witness

 “actually perceived or observed that which he testifies to”); 1 Damages in Tort Actions § 4.03

 (2021) (lay witnesses “may testify as to expressions of present pain made by an injured person at

 the time of the accident or at some point thereafter.”). Defendants’ Motion does not seek to

 exclude such evidence.




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        Further, Defendants’ Motion to exclude any evidence whatsoever of a non-party’s

 emotions or reactions is patently overbroad and should be denied. Blanket prohibitions on broad

 categories of evidence are rarely proper, see In re Peanut Famers Antitrust Litig., 2021 WL

 1141260, at *2 (“Orders in limine which exclude broad categories of evidence should rarely be

 employed.”), and Defendants have not even attempted to justify such a sweeping prohibition in

 this case. They argue only that the witnesses’ emotional distress is not “recoverable” and that their

 emotional reactions would be prejudicial.

        In fact, Defendants have it exactly backward: non-party witnesses’ testimony about how

 they felt or reacted to events they witnessed – which Plaintiffs do plan to introduce – can be highly

 relevant and probative, even central to their firsthand experience. U.S. v. Brice, 2010 WL 750081,

 at *1 (4th Cir. 2010) (per curiam) (affirming the district court’s allowance of witness testimony

 about their reactions during a bank robbery, including that “they were ‘scared,’ ‘nervous,’ and

 ‘shocked,’ and a customer appeared ‘terrified,’” because the testimony was probative of

 intimidation). The jury is entitled to hear the reaction of non-party witnesses to events they

 witnessed, which may lend credibility to their testimony. This case is a perfect example. This

 Court has already held, for example, that whether Defendants engaged in or agreed to engage in

 intimidating behavior is a relevant fact at issue. E.g., Sines v. Kessler, 324 F. Supp. 3d 765 (W.D.

 Va. 2018) (holding Plaintiffs’ adequately alleged Defendants entered into a conspiracy “for the

 purpose of . . . intimidating” people opposed to white supremacy, and to violate Virginia’s hate

 crime statute, which makes acts of racial “intimidation” unlawful). Naturally, Plaintiffs may

 testify that they felt intimidated by Defendants’ conduct, but it is also relevant and probative

 whether non-parties who witnessed the same conduct perceived it the same way and had similar

 reactions. Their testimony is entirely proper and admissible to corroborate Plaintiffs’ testimony.




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        Defendants are also incorrect that evidence of a non-party’s emotional distress should be

 excluded as prejudicial (Mot. at 4.) As the Fourth Circuit has explained, “[e]vidence that is highly

 probative invariably will be prejudicial to the defense,” but “damage to a defendant’s case is not a

 basis for excluding probative evidence.” Grimmond, 137 F.3d at 833; U.S. v. Williams, 445 F.3d

 724 (4th Cir. 2006) (“[A]ll evidence suggesting guilt is prejudicial to a defendant.”). Instead, “the

 touchstone for excluding evidence under Rule 403 is not prejudice, but ‘unfair’ prejudice.” U.S.

 v. Williams, 445 F.3d 724 (4th Cir. 2006). This means “there is a genuine risk that the emotions

 of the jury will be excited to irrational behavior, and that this risk is disproportionate to the

 probative value of the offered evidence.” U.S. v. Hammoud, 381 F.3d 316 (4th Cir. 2004).

        Defendants’ only argument is the bare conclusion that non-party witnesses’ “emotional

 distress” would have an “emotional impact on the jury.” (Mot. at 4.) Defendants cite no cases

 excluding relevant evidence on this basis, however, and they do not and cannot explain how such

 evidence would cause the jury to be “excited to irrational behavior” or that such a risk outweighs

 the substantial corroborative and evidentiary value of non-party witnesses’ testimony.

        C.      The Court Should Not Prohibit Counsel or Witnesses From Using Words Like
                “Conspiracy” or “Racial Animus”

        Defendants seek to prohibit any “questioning or testimony” that uses the terms

 “conspiracy,” “racial animus,” or “any similar term or concept.” (Mot. at 4-5.) Defendants’

 request is nonsensical on its face. The defense would bar Plaintiffs’ counsel and witnesses from

 using words like conspiracy and racial animus in a trial seeking to establish a conspiracy

 motivated by racial animus. Apart from the farcical nature of the request, Defendants’ motion

 finds no support in the law.

        A blanket prohibition on a broad category of communication and testimony is completely

 unwarranted in this case. See In re Peanut Famers Antitrust Litig., 2021 WL 1141260, at *2



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 (denying motion in limine because the request sought a “blanket bar on…a broad category of

 information” and noting that “[o]rders in limine which exclude broad categories of evidence should

 rarely be employed”). As Defendants concede, terms like “conspiracy” and “racial animus” are

 “used in everyday interactions.” (Mot. at 5.) When words are commonly used – even if they also

 have a specific legal meaning – they can be used in argument, questioning and testimony. U.S. v.

 McIver, 470 F.3d 550, 562 (4th Cir. 2006) (explaining that terms used in testimony are not rendered

 legal conclusions unless “the terms used by the witness have a separate, distinct and specialized

 meaning in the law different from that present in the vernacular”).

        Courts routinely permit testimony that uses words that have both legal and commonly

 understood meanings, even if it relates to the ultimate issue. See, e.g., U.S. v. Campbell, 963 F.3d

 309, 313-14 (4th Cir. 2020) (“The commonly understood meaning of ‘but for’ and ‘results from’

 do not diverge from their legal meaning. So we have no trouble finding that the jury would

 understand those terms,” and permitting such testimony); U.S. v. Chikvashvili, 859 F.3d 285,

 292−94 (4th Cir. 2017) (affirming admission of testimony on “causation” of death); McIver, 470

 F.3d at 562 (upholding trial court’s decision to allow testimony that doctor’s treatment was

 “illegitimate or inappropriate” even though terms he used were “similar to that which . . . the court

 has employed to express the underlying issues” because the language used “falls within the limited

 vernacular that is available to express” the issue); U.S. v. Jefferson, 623 F. Supp. 2d 683, 687 (E.D.

 Va. 2009) (“[A]lthough words such as ‘decision’ or ‘matter’ are also used in the bribery statute’s

 definition of ‘official act’ . . . and those words’ legal meanings are not so distinct as to render Mr.

 McHugh's proposed testimony unhelpful to the jury.”).

        In U.S. v. Hobbs, Nos. 05–4744, 05–4745, 2006 WL 2038757 (4th Cir. 2006), Defendants

 were convicted of conspiring to threaten and intimidate an African-American family in violation




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 of 18 U.S.C. § 241. On appeal, the defendants argued a witness’s testimony that he had had an

 “understanding” with defendants “that things should be done to try and scare the [African-

 American] family” was an inadmissible legal conclusion. Id. at *3. The Fourth Circuit disagreed,

 holding that the argument had “no merit” and finding testimony about defendants’ “understanding”

 was “highly relevant and [] admissible” in a conspiracy case. Id.

        It would be impractical to conduct this trial without the ability of counsel and witnesses to

 utter the words conspiracy or racial animus, two terms that not only are commonly understood but

 also embody two of the key elements of the civil rights conspiracy claim in this case. In fact,

 Defendants do not and cannot explain how the legal meaning of “conspiracy” or “racial animus”

 differ from their common definitions in any meaningful way. The legal meaning of conspiracy is

 an agreement, or meeting of the minds, by two or more persons to join together to commit an

 unlawful act and, “[b]y its very nature, a conspiracy is clandestine and covert.” U.S. v. Burgos,

 94 F.3d 849, 857 (4th Cir. 1996). The dictionary definition of conspiracy is “the activity of secretly

 planning with other people to do something bad or illegal.” Conspiracy, Cambridge Dictionary

 (10th ed. 2007). Similarly, the legal meaning of “discriminatory animus” is that Defendants acted

 “because the plaintiff belonged to or was somehow associated with a group of people . . . that the

 defendant disliked or hated.” 5 Modern Federal Jury Instructions, Instruction No. 87-106 (2021).

 The dictionary definition of “animus” is “a feeling of hate or anger toward someone or something.”

 Animus, Cambridge Dictionary (10th ed. 2007). In short, the legal and common definitions of

 these terms have the same or similar meanings, and it is entirely appropriate for counsel and

 witnesses to use them during trial.

        Defendants also argue the Court should exclude words like conspiracy and racial animus

 because those concepts are “part of what the jury will be responsible for determining.” (Mot. at




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 5.) Again, that argument contradicts the law, because witnesses can testify on the ultimate issue.

 See Fed. R. Evid. 704(a) (“An opinion is not objectionable just because it embraces an ultimate

 issue.”); U.S. v. Melvin, No. 12–4195, 2013 WL 323286, at * 2 (4th Cir. 2013) (citations omitted)

 (“An expert is permitted to give testimony that embraces an ultimate issue to be decided by a

 jury.”); e.g., Campbell, 963 F.3d at 313-14 (affirming admission of testimony on ultimate issue of

 causation); McIver, 470 F.3d at 562-63 (affirming admission of testimony on ultimate issue of

 whether treatment of patients was outside of bounds of medical practice); Jefferson, 623 F. Supp.

 2d at 687-88 (admitting testimony on ultimate issue of whether defendant engaged in “official

 acts” under bribery statute).

        Defendants’ further and vague request to prohibit the use of “any similar term or concept”

 is so overbroad and imprecise that the Court should reject it outright. See U.S. v. Bradford, 905

 F.3d at 497, 505 (7th Cir. 2018) (affirming trial court’s admission of evidence and explaining that

 defendant’s “motion in limine did not satisfy Rule 103(a)’s specificity requirement” because it

 “did not identify the specific evidence [defendant] feared would be admitted or explain why it was

 inadmissible”). Would Defendants prohibit counsel from using words like “agreement” and

 “understanding” (terms or concepts similar to “conspiracy”) or “racism” (a concept similar to

 “racial animus”)? Defendants do not identify the words they would prohibit as “similar,” so it is

 impossible for Plaintiffs or the Court to know the bounds of the testimony Defendants seek to

 exclude or the argument they seek to ban. 1




 1
   At a minimum, because Defendants are unable to articulate what exactly they seek to exclude
 and why, Defendants’ objections are premature. If they have objections to Plaintiffs’ questions,
 they can raise those objections at trial, and the Court can resolve them with the benefit of the
 context in which those objections arise. Melvin, 2013 WL 323286, at * 2 (explaining that, whether
 “ultimate issue testimony is helpful to the jury” will “often turn on the precise wording of counsel’s
 questions and responses provided by the witness.”) (citations omitted).


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          Finally, Defendants argue that “conspiracy,” “racial animus” and “similar” words would

 be prejudicial under Rule 403 because they suggest the terms are applicable to the Defendants.

 (Mot. at 5.) This is illogical. It is the substance of the testimony, not the use of the words, that

 would make them applicable to Defendants. Regardless, as the Fourth Circuit has explained,

 “[e]vidence that is highly probative invariably will be prejudicial to the defense,” but “damage to

 a defendant’s case is not a basis for excluding probative evidence.” U.S. v. Grimmond, 137 F.3d

 823, 833 (4th Cir. 1998). Indeed, “all evidence suggesting guilt is prejudicial to a defendant.” U.S.

 v. Williams, 445 F.3d 724 (4th Cir. 2006). Instead, “the touchstone for excluding evidence under

 Rule 403 is not prejudice, but unfair prejudice.” U.S. v. Williams, 445 F.3d 724, 730 (4th Cir.

 2006). This means “there is a genuine risk that the emotions of the jury will be excited to irrational

 behavior, and that this risk is disproportionate to the probative value of the offered evidence.” U.S.

 v. Hammoud, 381 F.3d 316, 341 (4th Cir. 2004) (en banc) (citations omitted), vacated on other

 grounds 543 U.S. 1097 (2005), relevant part of prior opinion reinstated, 405 F.3d 1034 (4th Cir.

 2004).

          Here, there is nothing to suggest the jury would be “excited to irrational behavior” by

 counsel or witnesses using common words like conspiracy or racial animus, or that such a risk

 outweighs the substantial corroborative and evidentiary value of testimony about Defendants’

 conduct actually engaging in a conspiracy motivated by racial animus – key issues in this case.

 The Court should deny the Motion.

          D.     Plaintiffs’ Response to Defendants’ Motion to Impose Limitation on Expert
                 Testimony

          Finally, Defendants Kessler, Damigo, and IE move to “exclude or limit the testimony of

 proffered experts Simi and Blee.” ECF No. 1148 at 5. In particular, Defendants seek an order

 prohibiting Plaintiffs from introducing expert testimony from Drs. Simi and Blee “opin[ing] that



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 there’s a conspiracy” or rendering opinions on “legal conclusions.” Id. Plaintiffs submit that such

 an order is unnecessary in light of governing precedent, Plaintiffs’ prior representations to the

 Court, the scope of the report itself, and the Court’s prior ruling denying Defendants’ motion to

 exclude certain aspects of Drs. Simi and Blee’s testimony. See ECF Nos. 826, 937, 941.

        As an initial matter, it is settled law that an “expert is permitted to give testimony that

 ‘embraces an ultimate issue’ to be decided by the jury.” United States v. Melvin, 508 F. App’x

 209, 211 (4th Cir. 2013) (quoting Fed. R. Evid. 704(a)). At any rate, Plaintiffs have already

 represented to the Court that they have no intention of asking Drs. Simi and Blee to draw any legal

 conclusions about the existence of a conspiracy. See, e.g., ECF No. 916 at 15 (Mr. Bloch: “[T]hey

 do not state any sort of legal conclusion.”); id. at 36 (Mr. Bloch: “[T]hey will not say that there’s

 a conspiracy. What they do say . . . is that there is a distinctive culture; it does include these

 tactics.”); id. at 37 (Mr. Bloch: “They won’t say there’s a conspiracy. They interpret language.

 They contextualize conduct within the culture of the White Supremacist Movement.”). Consistent

 with those prior representations, Plaintiffs do intend “to introduce expert testimony addressing

 certain common beliefs, strategies, and violent tactics of various white supremacist groups.” ECF

 No. 941 at 22-24. As this Court held in denying Defendants’ motion to exclude Plaintiffs’ experts,

 such expert testimony is “uniquely helpful evidence to a jury in a conspiracy case that involves ten

 white supremacist organizations and fourteen individuals as defendants.” Id. at 22.

        Not only is Defendants’ motion unnecessary, it is also premature. In its prior ruling

 regarding the testimony of Drs. Simi and Blee, the Court explained that, although “the Court has

 found no basis in Movant-Defendants’ arguments to preclude or limit Blee and Simi’s proffered

 expert testimony” and thus “denied their motion to exclude,” “[t]his does not preclude Defendants

 from later raising specific objections in the course of the experts’ testimony.” ECF No. 941 at 26




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 (emphases added); see also ECF No. 937 at 1; ECF No. 916 at 34-39 (Plaintiffs’ counsel

 explaining, “The answer to many of the concerns that Mr. Kolenich is raising is to cross-examine,

 to object at trial . . . .”). Accordingly, Plaintiffs submit that any concerns Defendants may have

 with Drs. Simi and Blee’s expert testimony are more appropriately raised and resolved through

 specific objections at trial.

      III.      CONCLUSION

             For the foregoing reasons, the Court should deny Defendants’ request that the court take

 judicial notice and deny Defendants’ second, third, and fourth motions in limine.



   Dated: October 12, 2021                              Respectfully submitted,

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